                    Case 1:21-cv-01489-CAP Document 1-1 Filed 04/14/21 Page 1 of 8
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                                                                                                                   CLERK OF STATE COURT
                                                                                                               GWINNETT COUNTY, GEORGIA
                                                                                                                         21.c{l913-S4
                                       IN THE STATE COURT OF GWINNETT COUNTY                                         3112120211:0E PM
                                                                                                                           TIANA P. GARNER

                                                        STATE OF GEORGIA
     Lynda Dowell
    1895 Phoenix Blvd., Suite 110
                                                                                         clvll- ACTION Zt -C-Ot gl 3.S4
    Atlanta, GA 30349
                                            PLAINTIFF


                           VS.

    Quik Trip FyA CT Corporation System

    289 South Culver'Street
    Lawrenceville, GA 30046
                                            DEFENDANT




                                                             SUMMONS

    TO THE ABOVE NAMED DEFENDANT:

      You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffls attorney, whose name
    and address is: '

    Keith R. Foster
    1895 Phoenix Blvd., Suite 110
    Atlanta, GA 30349

    an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, erclusive      of
    the day of service. If you fail to do so, judgment by default will be tiken against you for the relief demanded in the complainf.

    rhis 12th                    aay   ot   March                               ,   202L.
                                                                                TIANA P GARNER
                                                                                ffi,
                                                                                 Clerk of State Court




    INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used'

    SC-l Rev.20ll



                                                                                                                           EXHIBIT

                                                                                                                    I
   Case 1:21-cv-01489-CAP Document 1-1 Filed 04/14/21 Page 2 of 8
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                                                                                   GWINNETT COUNTY, GEORGIA
                                                                                              21-C-01913-S4
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                                                                                              TIANA P. GARNER

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

LYNDA DOWELL

       Plaintiff,                                    Civil Action Number
                                                      21-C-01913-S4



QIIIK TRIP


       Defendant,                             :




                                     COMPLAINT

       COMES NOW, Lynda Dowell, (hereinafter "Plaintiff Dowell") by and through

her Counsel of record Keith Foster, Attorney in the above-style action files this complaint

against the Defendant, Quik Trip (hereinafter "Defendant") as follows,

                                             l.

       Defendant is a duly organized Georgia domestic company subject to the

jurisdiction of this Court. Service of process may be perfected upon the Defendant

through its registered agent, CT Corporation System located at289 S. Culver Street,

Lawrenceville, Georgia 300464805.

                                            2.


       On March 13,2019, at approximately 3:55 pm, Plaintiff Dowell was at QuikTrip,

located at 5050 Sugarloaf Parkway, Lawrenceville, Georgia, pump #21 to get some gas.

When Plaintiff Dowell began to pump gas into her vehicle suddenly and without warning,

the hose loosened and gasoline splashed wildly and splashed into both eyes of Plaintiff

Dowell. Gasoline is a petroleum-based product that is highly flammable; used as a fuel
   Case 1:21-cv-01489-CAP Document 1-1 Filed 04/14/21 Page 3 of 8




for vehicles, but also as a solvent to remove oils and fats. That information is importantly

pertinent because instantly Plaintiff Dowell experienced pain and burning to her eyes,

                                                 3.


        Defendant acted negligently in failing to maintain its premises and equipment in a

safe condition for Plaintiff Dowell as well as failed to inspect the premises and equipment

for potential hazards.

                                                4.

        Due to the negligence of the Defendant, Plaintiff Dowell suffered immediate

injuries to eyes.

                                                5.


        That as a direct and proximate result of the Defendant's negligence, Plaintiff

Dowell sustained the following injuries: chemical burn of both eyes, acute conjunctivitis

of both eyes, burning and bilateral eye pain.

                                                6.

       At all times relative to this incident, Plaintiff Dowell was exercising due care for

her own safety.

                                                7.


        At all times complained of, the unsafe and dangerous condition, and in particular,

the loose hose, was a defect unknown to Plaintiff Dowell at the time of the incident and

was not discoverable by her in time to exercise reasonable care.

                                                8.


        All of the Plaintiff   s damages, as foresaid, were solely,   directly and proximately

caused by the negligence   of the Defendant.



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   Case 1:21-cv-01489-CAP Document 1-1 Filed 04/14/21 Page 4 of 8



                                                 t




                                                       9.

        Plaintiff Dowell has incurred the following special damages in an amount to be

proven at trial.




        WHEREFORE, Plaintiff respectfully prays as follows:

        (a)        That judgment be entered against the Defendant in an amount to be

                   determined by     a   jury of her peers;

        (b)        That all costs of this action be cast against the Defendant and in favor   of

                   the Plaintiff;   and,                    I

        (c)        That the Court grant such other and further relief that it deems just and

                   proper.

        (d)        Trial by Jury.



                                                       Respectfuily Submitted,   .



                                                        /s/ Kgith R. Foster
                                                       Keith R. Foster
                                                       State BarNo. 271001
                                                       Attomey for Plaintiff




THE FOSTER FIRM LLC
One Crown Center
1895 Phoenix Blvd., Suite I         l0
Atlanta, GA 30349
404-559-8325 phone
404-559'8335 fax
Email : kfoster@tfflaw.net



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      Case 1:21-cv-01489-CAP Document 1-1 Filed 04/14/21 Page 5 of 8                          E-FILED IN OFFICE - JM
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                                                                                           TIANA P. GARNER, CLERK

                     IN THE STATE COURT OF'GWINNETT COTJNTY

                                     STATE OS GEORGIA

LYNDA DOWELL,                                 )
                                              )
       Plaintiff,                             )
                                              )         CIVI AC'IION
v;                                            )
                                              )         F-lr.E NO. 21 -C-01 9l 3-S4
QUIKTRIP,                                     )
                                              )
       IJefendant.                            )
                                              )

                                  DSr-uNsEs ANq,AN$WEB

       COMES NOW, l)efendant QUIKTRIP CORPORA'|ION, appearing specially and without




Plaintiffs Complaint for   Damages, and shows the Court as follows:

                                       FIRSI DEJSNSS
       'lhe Plaintiffs Complaint tbils to state a claim against f)efendant upon which relief can bs

granted.

                                      $ECO$D DqES'li$4

       Jurisdiction is improper as to Defendant,

                                       TILIRD qpFENsE

       Venue is improper as to Defendanl.

                                      F'OURTH DEFENSq

                                            ANS:||-V_,$,F.


       Defendant responds to the allegations of Plaintillls Complaint as follows:

                                                   1,


       Defendant denies the averments contained in paragraph 1 of       Plaintifls Complaint'



                                                  -l*
      Case 1:21-cv-01489-CAP Document 1-1 Filed 04/14/21 Page 6 of 8




                                                     )
       Defendant denies the averments contained in paragraph 2 of Plaintill's Complaint.

                                                     3.

       Defendant denies the avements contained in paragraph 3 of Plaintitf s Complaint.

                                                     4,


       Defendant denies the averments contained in paragraph 4 of Plaintiff s Complaint.

                                                     5.


       Defendant denies the averments contained in paragraph 5         oflPlaintiffs Complaint"

                                                     6.


       Defendant denies the averments contained in paragraph 6 of Plaintiff s Complaint,

                                                     7.


       Defendant denies the averments contained in paragraph 7 of           Plaintiffs Complaint.

                                                     8.


       Defbndant denies the averments contained in paragraph 8 of           Plaintiffs Complaint.

                                                     9.


       Defendant denies the averments contained in paragraph 9 of           lllaintiffs Complaint.

                                           FrrTr{ pEFnN,sH

       Defendant denies each and every averment contained in the paragraph beginning with the

word "WHEREFORE" in the Plaintiffs Complaint, Any allegations or averments oontained in

Plaintiff s Complaint not specifically responded to above       are hereby denied.


       WHEREFORH, Defendant QIIIKTRIP CORPORATION, having                               fully   answe,red,


demands that   it   be dischalged with ail costs cast upon the Plaintiff.




                                                      a
      Case 1:21-cv-01489-CAP Document 1-1 Filed 04/14/21 Page 7 of 8




                                  Respectfully submitted,

                                  rlowFlEY & CLEVELAND, LLP




                                  Elv:    /s/ Sean L. Hvnes
                                          SEAN L. }IYNES
                                          Georgia State Bar No. 381698
                                          hynes@downeycleveland. com
                                          Attomeys for Defendant

Downey & Cteveland,LLP
288 Washington Avenue
Marietta, GA 30060-1 979
T:77A422-3233
F:7704234199




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       Case 1:21-cv-01489-CAP Document 1-1 Filed 04/14/21 Page 8 of 8




                                 s,pBIrrrgATE pr SERYISq
       'Ihis is to certify that I have this day served the following counsel of record with   a true and


                                                                                             in the
correct copy of the foregoing pleading via electronic service andlor by depositing said copy

United States Mail, with sufficient postage affixed thereon, and properly addressed to the

following:

       Keith R. Foster, Hsq.
       The Foster Finn LLC
       One Crown Center
       1895 Phoenix Blvd., Ste. 110
       Atlanta, Ga 30349

       This 13s day of Apri1,2021'"

                                               DOWNEY & CLEVELAND, LLP




                                                          Sean I-.
                                                        SEAN L. HYNES
                                                        Georgia State BarNo. 381698




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